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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA

        v.                                           Case No. 1:23-CR-251 (AKH)

 CHARLIE JAVICE and OLIVIER AMAR,                    MOTION FOR ADMISSION PRO
                                                     HAC VICE OF RICHARD M. DE
        Defendants.                                  MARIA, ESQ.




       PLEASE TAKE NOTICE that upon the annexed declaration of movant in support of this

motion and the Certificates of Good Standing annexed thereto, and pursuant to Rule 1.3 of the

Local Rules of the United States District Courts for the Southern and Eastern Districts of New

York, I, Richard M. De Maria, Esq., hereby move this court for an Order for admission to practice

Pro Hac Vice, in order to appear as counsel for Charlie Javice in the above captioned action.

       I am a member in good standing of the State Bar of Florida. I have never been convicted

of a felony and there are no pending disciplinary proceedings against me in any federal or state

court. I have never been censured, suspended, disbarred or denied admission or readmission by

any court.

Dated: January 10th, 2025.                         Respectfully submitted,

                                                   /s/ Richard M. De Maria /s/
                                                   Richard M. De Maria, Esq.
                                                   Richard De Maria / Of Counsel to Baez Law Firm
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                                                   /s/ Jose Baez /s/
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